                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

J.K.J.,

                 Plaintiff,                                     Civil Action No. 15-cv-428-wmc

v.

POLK COUNTY SHERIFF'S DEPARTMENT
and DARRYL L. CHRISTENSEN,

                 Defendants.

                                     AMENDED COMPLAINT



          For her Complaint, plaintiff J.K.J. hereby states and alleges as follows:

                                   JURISDICTION AND VENUE

     1.      This is an action for money damages for injuries sustained by Plaintiff as a result of

non-consensual sexual assault and coercion in violation of Plaintiff’s constitutional and state

rights by Defendant Christensen. Plaintiff also asserts a claim against the Polk County Sheriff’s

Department pursuant to 42 U.S.C. §§ 1983, 1986, and 1988, the Eighth Amendment of the

United States Constitution, and 28 U.S.C. §§ 1331 and 1342(3). The aforementioned statutory

and constitutional provisions confer original jurisdiction of this Court over this matter.

     2.      The Court has jurisdiction over the state claims pursuant to 28 U.S.C. §1367(a).

     3.      The amount in controversy exceeds $75,000, excluding interest and costs.

     4.      A jury trial is demanded.

                                                 PARTIES

     5.      Plaintiff is and was, at all times material herein, a citizen of the United States, a

resident of the State of Wisconsin, and a prisoner in the State of Wisconsin.
     6.     Defendant Darryl L. Christensen (“ Defendant Christensen”), upon information and

belief, was, at all times material herein, a citizen of the United States and a resident of the State

of Wisconsin, and was employed by Defendant Polk County Sheriff’s Department (“Defendant

Sheriff”) acting as a jailer at the Polk County Jail.

     7.     Defendant Sheriff operates the Polk County Jail which is where Defendant

Christensen sexually assaulted Plaintiff while she was an inmate.

     8.     Defendant Christensen is being sued in both his individual and official capacities as

to all counts, federal and state.

     9.     Defendant Sheriff is being sued on a theory of direct liability with regards to

Plaintiff’s federal law claims.

     10.    Defendant Sheriff is being sued on theories of both direct liability as well as

respondeat superior with regards to to Plaintiff’s pendent state law claims. At all times relevant

herein, Defendant Christensen was employed by the Defendant Sheriff as a jail officer at the

Polk County Jail. All acts alleged herein by Defendant Christensen were committed within the

scope of his employment, under the authority of the Defendant Sheriff, while Defendant

Christensen was actively on duty in the Polk County Jail and performing tasks specifically

authorized and ratified by the Defendant Sheriff, including observing and monitoring the actions

of the Plaintiff.

                                     FACTUAL ALLEGATIONS

     11.    Defendant Christensen sexually assaulted numerous inmates, including Plaintiff while

working in his capacity as a jailer at the Polk County Jail.

     12.    Upon information and belief, within the Polk County Jail there are 3 different housing

areas; a maximum security area, a medium security area, and a minimum security area.



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    13.    The only areas of the Polk County Jail with cameras were the minimum security pod

and some of the hallways of the jail.

    14.    The maximum security area consists of a “bubble,” which is where the jailers are

housed to watch over the inmates, the “bubble” is surrounded by a hallway. Branching out from

the hallway are various housing units which each hold multiple inmates as well as other rooms.

There is one way glass comprising the outside of the housing units such that jailers can see inside

the housing units but inmates cannot see into the hallway and/or the “bubble.”

    15.    One of the rooms off of the hallway in the maximum security housing area is called

the “X-room.” This is a conference room that the inmates could use for classes or to walk around

to get exercise. This room did not have cameras.

    16.    The maximum security area is self-contained and access is severely restricted.

    17.    Upon information and belief, a jailer from inside the “bubble” is responsible for

opening all doors to get into maximum security housing area. Generally, no one can enter the

max housing area without being let in from someone inside the “bubble.”

    18.    When Defendant Christensen worked alone in the “bubble” he was able to refuse or

delay entry of other jailers into the maximum security housing area.

    19.    Upon information and belief, there are no cameras showing recording in the “bubble,”

the hallway surrounding it, or in the maximum security housing units.

    20.    The various housing units consisted of female and male inmates.

    21.    Polk County Jail had a custom that allowed one opposite-sex jailer to watch over all

opposite sex inmates, alone. Upon information and belief, this would occur when other jailers

would take lunch breaks, when jailers would bring inmates to court, and for various other

reasons.



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    22.       Defendant Christensen could see on the camera when someone was attempting to

enter through the maximum security doors.

    23.       Defendant Christen was able to refuse or postpone entry into the maximum security

area while he was assaulting female inmates.

    24.       Defendant Christensen knew there were no cameras and would sexually take

advantage of inmates in particular areas. In the maximum security area, those areas included near

the “bubble,” the adjoining hallway, and the “X-room.” In the maximum security area, not only

were there no cameras, but he “held the key” for anyone else to enter.

    25.       Defendant Christensen would also sexually take advantage of inmates in other areas

without cameras such as the medium security pod, holding cells, various hallways and corners of

hallways just out of camera sight.

    26.       Polk County Jail’s policy of having one jailer on duty, combined with other facts

including inaction on behalf of Polk County Jail for responding to warning signs, allowed and

encouraged Defendant Christensen’s sexual misconduct.

A. Unconsented Contact with Plaintiff

    27.       Jennifer Johnson was incarcerated at the Polk County Jail, on and off, between

August of 2012 to the time of Defendant Christensen’s resignation.

    28.       The first initiation of sexual intercourse with Plaintiff was in August of 2012 when

Defendant Christensen called Plaintiff over the intercom and asked Plaintiff to step out of her

cell block.

    29.       Defendant Christensen took Plaintiff to an area described near the “X–room”.

Defendant Christensen began to “make out” with Plaintiff, began feeling under her underwear,

and put his fingers into her vagina. Defendant Christensen proceeded to have non-consensual



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sexual intercourse. Shortly after the incident Defendant Christensen called Plaintiff back out

from her cell block stating, “You’re not going to say anything right?” Plaintiff felt compelled to

agree.

       30.   Defendant Christensen initiated sexual contact a second time when he again called

Plaintiff out of her cell and told her to go to the “X–room”.

       31.   Defendant Christensen started “making out” with Plaintiff, put his hand under her jail

uniform and put his fingers into Plaintiff’s vagina. Defendant Christensen then licked his fingers,

pulled down his pants, and he put his penis into Plaintiff’s mouth.

       32.   Upon information and belief, this interaction stopped when Defendant Christensen

was being called to respond to a radio.

       33.   On another occasion Defendant Christensen called Plaintiff out of her cell into the

“X–room” and made out with her.

       34.   When everyone in the block but Plaintiff was sleeping, Defendant Christensen would

approach the block and expose his penis to Plaintiff. He would also masturbate putting his penis

against the glass from the outside. This would be in an area where the camera was not able to

see.

       35.   On another occasion, Plaintiff went to the booking area to retrieve personal property.

Defendant Christensen was working in this area and brought her behind a shower curtain, where

there were no cameras, and he kissed Plaintiff, felt her breasts underneath her shirt and bra.

       36.   On various other occasions Defendant Christensen would put his fingers into

Plaintiff’s vagina and his penis into Plaintiff’s mouth.

       37.   While in the “bubble,” Defendant Christensen would direct Plaintiff’s attention to the

“bubble” and she could see Defendant Christensen masturbating underneath a lamp.



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    38.     Because of cameras in minimum security, when Plaintiff was classified at this level,

Defendant Christensen did not engage in any sexual relations with Plaintiff.

    39.     However, even while in minimum security, Defendant Christensen would grab

Plaintiff’s butt when she walked out for medications where the camera’s couldn’t see him.

    40.     Defendant Christensen would also expose his penis to Plaintiff from the hallway

outside of the cellblock.

    41.     During the course of the sexual relations, Defendant Christensen promised and

brought Plaintiff coffee, candy, and indicated he would bring her $150 for rent, but he resigned

before that happened.

    42.     Defendant Christensen told Plaintiff on numerous occasions not to tell anyone what

happened.

    43.     Plaintiff felt obligated, controlled, compelled, and pressured by Defendant

Christensen to engage in the sexual acts. Plaintiff felt powerless given that she was an inmate

and that Defendant Christensen had authority over her as a jailer.

    44.     Plaintiff was employed in the past and this may impact her ability to return to gainful

employment and may result in a loss of future earnings.

    45.     Based on the statements of inmates, the Wisconsin Department of Justice (“WDOJ”)

initiated an investigation into Defendant Christensen’s sexual conduct.

    46.     In addition to the non-consensual sexual acts perpetrated on Plaintiff, according to

WDOJ’s investigation, Defendant Christensen had non-consensual sexual relations with at least

4 other inmates under circumstances that were similar, if not identical, to those perpetrated on

the Plaintiff during the same time period.

B. Statements from other Polk County Jailers



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    47.      As part of the WDOJ’s investigation, numerous jailers were interviewed with regards

to Christensen’s conduct. Portions of their statements are identified, below.

    48.      Michael Ottosen was a jailer employed by Defendant Sheriff at the Polk County Jail

for over 10 years and worked frequently with Defendant Christensen.

    49.      Jailer Ottosen was asked to describe observations of Defendant Christensen while

working together at the jail.

    50.      Jailer Ottosen indicated that he recalled an incident where he was providing a roll of

toilet paper to a female inmate (of which he cannot remember which inmate) and Defendant

Christensen stood in the “bubble” with his hands on his hips staring at the inmate.

    51.      Jailer Ottosen stated that Defendant Christensen was always flirting with the inmates.

On one occasion Defendant Christensen brought in a new Harley Davidson jacket and paraded it

around for the female inmates.

    52.      Jailer Ottosen indicated that approximately 6 times while working master control he

would transfer a call to Defendant Christensen in the max pod and that Defendant Christensen

would not respond which caused the call to be transferred back to master control.

    53.      The standard procedure for the jailer in the max pod is to notify master control of

unavailability if a short break was needed away from the radio. This procedure was to be

followed even for a restroom break. It is clear that Defendant Christensen did not follow this

procedure.

    54.      Scott Pittman was a jailer employed by Defendant Sheriff at the Polk County Jail and

had been on the same shift and rotation, working 3 days per week with Defendant Christensen,

for the past 5 years prior to Defendant Christensen’s resignation.




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    55.    Jailer Pittman indicated that there were 3 times when he returned from lunch when

Defendant Christensen was working in the “bubble.” Pittman requested the door to be opened to

the max pod, which was controlled from the “bubble” and there was a delay for Defendant

Christensen to open the door.

    56.    Johnson- Scott Pittman felt that Defendant Christianson would, “pay more attention

to Plaintiff than other inmates.”

    57.    Lawrence Bergeron was a jailer employed by Defendant Sheriff at the Polk County

Jail for approximately 13 years and worked the same shift as Christensen.

    58.    Plaintiff- Bergeron noticed that Defendant Christensen would talk to Plaintiff more

than other female inmates.

    59.    Lori Flandrena was a jailer employed by Defendant Sheriff at the Polk County Jail for

approximately 12 years and she worked the same shift as Christensen 3 days per week.

    60.    Flandrena heard Defendant Christensen call Plaintiff “gorgeous.”

    61.    On one occasion Flandrena requested Defendant Christensen, then working in the

“bubble”, to open the door to the maximum security pod. After 3-4 minutes of Defendant

Christensen not responding, Flandrena requested master control to override the “bubble” and to

open the door for her. As the door opened and Flandrena entered the maximum security pod, she

heard the “bubble” door slam. She knew that Defendant Christensen was somewhere outside the

“bubble”, not using the restroom, but that she did not ask him any questions. This was clearly

against department policy.

    62.    In addition, Flandrena states that there were numerous other times where Defendant

Christensen failed to answer the radio when he was working in the “bubble”.




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    63.     Jailer Stacey Ptacek was a jailer employed by Defendant Sheriff at the Polk County

Jail and would work with Defendant Christensen from time to time. She indicated that Defendant

Christensen often flirted with female inmates.

    64.     Jailer William G. Briggs was a jailer employed by Defendant Sheriff at the Polk

County Jail and worked with Defendant Christensen for a year prior to his resignation working 3

days out of 6 on the same shift.

    65.     Jailer Briggs indicated that Defendant Christensen paid a lot more attention to female

inmates.

    66.     Jailer Briggs also indicated that on more than one occasion when Defendant

Christensen was in the “bubble” in max pod, he requested Defendant Christensen to open the

door and felt he had to wait an excessive amount of time before Defendant Christensen finally

opened the door.

    67.     Jailer Lorraine Beyl was a jailer employed by Defendant Sheriff at the Polk County

Jail and for 1.5 years prior to Defendant Christensen’s resignation, worked the same shift 6 days

per week.

    68.     Jailer Beyl indicated that Defendant Christensen paid a lot more attention to Plaintiff

than any other inmate.

    69.     According to Jailer Beyl, on approximately 12 different occasions when Defendant

Christensen was assigned to the booking area of the Jail, he would come into the minimum

security wing and requested Plaintiff and another female inmate to clean the booking area. Jailer

Beyl stated that it was not common to request a specific inmate to do the cleaning.




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    70.    Jailer Beyl also stated that approximately 2-3 times after she had lunch and returned

to the maximum security pod she had to wait a long time for Defendant Christensen, who was

working in the “bubble,” to open the security door.

    71.    One time when Jailer Beyl was waiting outside the security door to the non-minimum

security pod, she heard the door slam to the “bubble” and then her door opened. It was apparent

to her that Defendant Christensen was outside the “bubble”.

    72.    On February 20, 2014, Defendant Christensen missed training on the Prison Rape

Elimination Act from Captain Nargis. Captain Nargis meeting minutes specifically note that

there was to be, “No inappropriate contact between staff and inmates.”

    73.    Captain Nargis has no proof that Defendant Christensen would have ever read the

policy regarding Fraternization with Inmates and the Prison Rape Elimination Act.

    74.    As a result of the sexual assault from Defendant Christensen, Plaintiff has suffered

and will continue to suffer great damages including physical injury; severe mental anguish,

stress, embarrassment, humiliation, inconvenience, wage loss, and pain and suffering causing

symptomatic reaction, including but not limited to: depression, nervousness, inability to sleep,

nightmares, and severe anxiety impacting Plaintiff’s daily living activities, loss of enjoyment of

life and other nonpecuniary injury.

    75.    On February 19, 2015 Defendant Sheriff, via the Chief Deputy Steven Moe, was

personally served with a notice of claim pursuant to Wisconsin Statute §893.80.

    76.    To date, the Plaintiff has received no response to the §893.80 notice of claim.

                                       CAUSES OF ACTION

                                AS TO ALL FEDERAL CHARGES




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    77.      Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

    78.      At all times relevant the conduct of Defendants were subject to 42 USC §1983 and

§1986.

    79.      In committing the acts complained herein, Defendants, and each of them, acted under

color of Wisconsin law, statute, ordinance, and/or regulation and/or pursuant to customs to

deprive Plaintiff of her constitutionally protected right to be free from cruel and unusual

punishment under the Eighth and Fourteenth Amendment to the Constitution of the United

States.

    80.      Defendants’ acts and omissions, and each of them, separately and/or in concert

demonstrated their deliberate indifference to, and conscious disregard for the health, safety and

welfare of Plaintiff and caused and/or permitted the continuation of Defendant Christensen’s

sexual misconduct, thereby resulting in the violation of Plaintiff’s right to be free from cruel and

unusual punishment under the Eighth and Fourteenth Amendments to the United States

Constitution.

    81.      Defendants’ acts and omissions, and each of them separately and/or in concert

disregarded Plaintiff’s constitutional rights as described herein and thus violates 42 USC §1983

and §1986.

    82.      As a direct and proximate result of the Defendants’ violation of Plaintiff’s

constitutional rights, Plaintiff suffered physical injury and severe mental anguish and emotional

trauma.

    83.      As a direct and proximate result of the acts of Defendant Christensen, Plaintiff has

suffered physical injury and mental anguish and is therefore damaged in an amount in excess of



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seventy-five thousand dollars ($75,000) and further demands judgment against each Defendant,

jointly and severally, for attorney’s fees and the costs of this action under 42 U.S.C. §1988,

together with any further relief as the Court deems equitable and just.

    84.      Punitive damages are also properly awardable against Defendant Christensen and are

hereby claimed as a matter of federal common law, Smith v. Wade, 461 U.S. 30 (1983) and, as

such, are not subject to the pleading requirements or the differing standard of proof set forth in

Wis. Stat. § 895.043.

                              COUNT ONE- Federal Claim
                           VIOLATION OF 8TH AMENDMENT
               AS TO DEFENDANT CHRISTENSEN AND DEFENDANT SHERIFF

    85.      Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

    86.      Defendant Christensen’s conduct constituted prohibited sexual abuse and cruel and

unusual punishment of Plaintiff. Such conduct is outrageous, reckless, malicious, and sadistic

and for the very purpose of causing harm which constitutes cruel and unusual punishment.

    87.      No officer in Defendant Christensen’s position could have believed that sexual

intercourse with an inmate placed in the care and control of the jailer was reasonable, justified,

and constitutional.

    88.      Defendant Sheriff negligently, grossly negligently, recklessly, willfully, wantonly,

maliciously, and/or intentionally sexually assaulted Plaintiff by and through Defendant

Christensen’s conduct. Defendant Christensen’s sexual assault of Plaintiff was performed with

reckless or callous disregard for Plaintiff’s right to be free from cruel and unusual punishment, as

guaranteed under the Eighth Amendment to the United States Constitution, as applied to Plaintiff




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through the Fourteenth Amendment to the United States constitution and was committed under

the color of state law.

     89.     Defendant Sheriff knew of the risk posed from Defendant Christensen given his

neglected training, flirting with female inmates, continuous breaking of jail policies, and other

conduct alleged, supra, and acted with deliberate indifference when it failed to take reasonable

measures to abate that risk.

     90.     As a result of Defendant Christensen’s unwanted and unlawful sexual contact with

Plaintiff, Defendant Christensen caused pain, physical injury, mental anguish, and emotional

trauma to the Plaintiff, identified supra.

                              COUNT TWO- Federal Claim
                          VIOLATION OF 42 U.S.C. §1983 & 1986
               AS TO DEFENDANT CHRISTENSEN AND DEFENDANT SHERIFF

     91.     Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

     92.     Defendant Christensen violated the Plaintiff’s rights pursuant to 42 U.S.C. §1983

while acting under the color of law, as a representative of Defendant Sheriff,

     93.     The conduct described supra will establish that Defendant Christensen, in his

individual capacity, violated Plaintiff’s Eighth Amendment right against cruel and unusual

punishment, by sexually assaulting her during her incarceration.

     94.     By the actions described above, Defendant Christensen, under color of state law and

in his official capacity as jail guard, violated and deprived Plaintiff of her clearly established and

well-settled civil right to be free from sexual assault by a supervising jail guard.




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    95.    Defendant Christensen subjected Plaintiff to these deprivations of constitutional

rights either maliciously, intentionally, deliberately, willfully, or by acting with reckless

disregard for whether Plaintiff’s civil rights would be violated by his actions.

    96.    As a direct and proximate result of the acts of Defendant Christensen, Plaintiff has

suffered physical injury and mental anguish and is therefore damaged in an amount in excess of

seventy-five thousand dollars ($75,000).

    97.    Punitive damages are also properly awardable against Defendant Christensen and are

hereby claimed as a matter of federal common law, Smith v. Wade, 461 U.S. 30 (1983) and, as

such, are not subject to the pleading requirements or the differing standard of proof set forth in

Wis. Stat. § 895.043.

    98.    Plaintiff is entitled to recovery of her costs, including reasonable attorneys’ fees,

under 42 U.S.C. § 1988.

a) Failure to train and supervise Christensen:

    99.    Defendant Sheriff was negligent in training Defendant Christensen.

    100. Given the actions of Defendant Christensen that were identified by numerous jailers

that he worked with, including but not limited to comments that inmates were “gorgeous,”

continued delay in opening the “bubble” door, flirting with female inmates, and requesting

specific inmates for tasks, Defendant Sheriff knew or should have known that Defendant

Christensen would confront the choice of engaging in sexual comments and contact with female

inmates.

    101. Defendant Christensen’s conduct and choices could of and would have been different

had it been for appropriate training on the Prison Rape Elimination Act from Defendant Sheriff.




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     102. Defendant Christensen missed this training and it cannot be shown that he has

reviewed the training and policies relating to the Prison Rape Elimination Act or the Polk County

Jail’s policy regarding jailers fraternization with inmates.

     103. The Defendant Sheriff, knowing or having reason to know that Defendant

Christensen specifically needed additional training and/or supervision in this area, acted with a

deliberate indifference when they failed to provide appropriate supervision and training on the

Prison Rape Elimination Act to Defendant Christensen.

     104. Defendant Christensen’s engaging in sexual comments, sexual contact, and sexual

exploitation of female inmates has led to the deprivation of constitutional rights of female

inmates, specifically, Plaintiff.

b) Failure to supervise and train all jailers:

     105. Defendant Sheriff failed to train all jailers working with Defendant Christensen to

recognize and report warning signs, policy/custom violations, comments, and actions from

Defendant Christensen.

     106. Given the actions of Defendant Christensen that were identified by numerous other

jailers that he worked with, including but not limited to comments that inmates were “gorgeous,”

continued delay in opening the “bubble” door, flirting with female inmates, and requesting

specific inmates for tasks, Defendant Sheriff knew or should have known that Defendant

Christensen would confront the situation of sexual comments, sexual contact, and sexual

exploitation with female inmates.

     107. Defendant Sheriff failed to train and supervise the jailers on warning signals as well

as the requirement that when department policies or customs are broken that they are to report to

superiors.



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       108. There were department policies and/or customs which stated that if a jailer was to

leave the “bubble”, even for a restroom break, they were to let master control know.

       109. Defendant Christensen broke this policy/custom time and time again according to

other jailers.


       110. A failure of Defendant Sheriff to train officers to report improper conduct caused,

allowed, and encouraged continued unlawful sexual contact and comments from Defendant

Christensen.

       111. Although each of the identified jailers recognized actions and warning signs they did

nothing.

       112. The Defendant Sheriff acted with deliberate indifference when they created an

atmosphere that allowed for continuous violations of department policies without repercussions

and failed to train and/or supervise the jailers with regards to these issues.

       113. Because Defendant Sheriff failed to train and supervise all jailers on these issues,

Defendant Christensen was given the opportunity, encouragement, and ability to continue his

sexual exploitation of female inmates.

c) Custom of allowing one male officer to supervise females without cameras and the

ability to prevent entrance of other jailers

       114. Defendant Sheriff did not have a custom or policy that required segregation of

correctional officers from opposite-sex inmates. At a minimum, Defendant Sheriff failed to

require a minimum of two correctional officers whenever acting with inmates of the opposite

sex.




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     115. Whether a jailer left to bring an inmate to court, went to lunch, took a bathroom

break, or for whatever reason, one jailer was often left alone to supervise inmates of the opposite

sex. There was a custom within the Jail that this was acceptable.

     116. In addition, the only cameras in the entire jail were located in the minimum security

area as well as a few hallways. There were no cameras in the booking areas, there were no

cameras in the maximum and medium housing units, and there were no cameras in various

hallways.

     117. Finally, to add another element of indifference, when in the max pod, jailers within

the pod had the ability to seal out all other jailers from being able to enter the area.

     118. This trifecta gave Defendant Christensen the perfect opportunity and encouraged

Defendant Christensen to sexually assault female inmates. Defendant Sheriff acted with

deliberate indifference when they failed not only to recognize the warning signs and

inadequacies of Defendant Christensen’s conduct, but also when this was coupled with the

custom of allowing one opposite sex supervisor with no cameras and with the ability to lock all

other jailers out of certain areas.

                                      AS TO ALL STATE CLAIMS:

     119. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

     120. On February 19, 2015 Defendant Sheriff, via the Chief Deputy Steven Moe, was

personally served with a notice of claim pursuant to Wisconsin Statute §893.80.

     121. To date, the Plaintiff has received no response to the §893.80 notice of claim.




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     122. Defendant Christensen was acting in his official capacity with the Defendant Sheriff

when he engaged in sexual contact with the Plaintiff and caused the Plaintiff physical and

emotional harm.

     123. Upon information and belief, Defendant Christensen’s conduct occurred during

working hours while conducting official business.

     124. Defendant Christensen misused and abused the official power granted to him by

Defendant Sheriff within the scope of his official duties, thereby causing harm to Plaintiff.

     125. As a direct and proximate result of Christensen’s conduct and actions, the Plaintiff

has suffered damages, including but not limited to sever mental and emotional distress, as well as

economic loss.

                          COUNT THREE- State Claim
                        CIVIL ASSAULT AND BATTERY
         AS TO DEFENDANT CHRISTENSEN IN HIS INDIVIDUAL AND OFFICIAL
                               CAPACITY

     126. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

     127. Defendant Christensen intentionally inflicted unauthorized offensive sexual contact

upon Plaintiff, which caused bodily harm to her including but not limited to sexual touching,

penile sexual intercourse, oral sexual intercourse, and digital penetration, as alleged supra.

     128. Plaintiff did not consent to the offensive contact alleged herein, constituting assault

and battery upon her.

     129. Defendant Christensen’s actions were an unlawful civil assault of and battery upon

Plaintiff.




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    130. As a direct and proximate result of the assault and sexual battery of Plaintiff, Plaintiff

suffered physical injury, pain and suffering, mental anguish and humiliation as alleged in this

Complaint.

    131. The conduct of Defendant Christensen was done with actual malice and displayed

such a deliberate and reckless indifference to Plaintiff’s rights which actually and proximately

caused her damage and entitling her to an award of punitive damages.

                         COUNT FOUR- State Claim
    2ND DEGREE SEXUAL ASSAULT: SEXUAL CONTACT OR INTERCOURSE BY A
                    CORRECTIONAL STAFF MEMBER
       AS TO DEFENDANT CHRISTENSEN IN HIS INDIVIDUAL AND OFFICIAL
                             CAPACITY

    132. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

    133. By engaging in non-consensual sexual contact with Plaintiff while she was

incarcerated and Defendant Christensen was a jail guard supervising her incarceration,

Defendant Christensen is in violation of Wis. Stat. § 940.225(2)(h).

    134. As a direct and proximate result of Defendant Christensen’s sexual assault, Plaintiff

suffered physical injury, pain and suffering, mental anguish and humiliation in excess of

seventy-five thousand dollars ($75,000).

    135. The conduct of Defendant Christensen was done with actual malice and displayed

such a deliberate and reckless indifference to Plaintiff’s rights which actually and proximately

caused her damage and entitling her to an award of punitive damages.

                          COUNT FIVE- State Claim
               NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
       AS TO DEFENDANTS CHRISTENSEN IN HIS INDIVIDUAL AND OFFICIAL
                   CAPACITY AND DEFENDANT SHERIFF




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    136. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

    137. Defendant Christensen intended to initiate and did, in fact, initiate non-consensual

sexual contact with Plaintiff including but not limited to sexual touching, penile sexual

intercourse, oral sexual intercourse, and digital penetration, as alleged supra.

    138. By making threats, Defendant Christensen knew or should have known that his

initiation of sexual contact would cause emotional distress.

    139. Defendant Christensen’s initiation of sexual relations has caused emotional distress to

Plaintiff which has been extreme and disabling as alleged, supra.

    140. Defendant Christensen was employed by Defendant Sheriff and operating within his

scope of employment when he committed the negligent infliction of emotional distress such that

Defendant Sheriff is vicariously liable for the actions of Defendant Christensen under the theory

of respondeat superior.

    141. Defendant Christensen’s conduct occurred during working hours and while

conducting official business. Defendant Sheriff knew or should have known of such conduct

based on the allegations alleged, supra.

    142. The Conduct of Defendant Sheriff, by and through the conduct described supra of its

employee, Defendant Christensen, was done with actual malice and displayed such a deliberate

and reckless indifference to Plaintiff’s rights which actually and proximately caused her damage

and entitling her to an award of punitive damages.

                            COUNT SIX- State Claim
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
        AS TO DEFENDANT CHRISTENSEN IN HIS INDIVIDUAL AND OFFICIAL
                               CAPACITY




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    143. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

    144. Defendant Christensen purposefully engaged in extreme and outrageous conduct that

was intended to and did cause extreme and disabling emotional distress to the Plaintiff by

engaging in the conduct including but not limited to sexual touching, penile sexual intercourse,

oral sexual intercourse, and digital penetration, as alleged supra.

    145. As a direct and proximate result of Defendant Christensen’s intentional infliction of

emotional distress upon Plaintiff, she has sustained injuries and damages which have been

extreme and disabling as alleged, supra.

    146. The conduct of Defendant Christensen was done with actual malice and displayed

such a deliberate and reckless indifference to Plaintiff’s rights which actually and proximately

caused her damage and entitling her to an award of punitive damages.

                        COUNT SEVEN- State Claim
     NEGLIGENT SUPERVISION AND TRAINING OF DEFENDANT CHRISTENSEN
                       AS TO DEFENDANT SHERIFF

    147. The Defendant Sheriff was negligent in the training Defendant Christensen.

    148. The Defendant Sheriff knew or had reason to know that Defendant Christensen

engaged in inappropriate conduct with female inmates. Numerous Polk County Jailers gave

statements that Defendant Christensen favored female inmates, that he would flirt with female

inmates, and that he would make requests specifically for certain inmates, that he called certain

inmates “gorgeous,” and that he violated Jail customs, among other things.

    149. On February 20, 2014, Defendant Christensen missed training on the Prison Rape

Elimination Act from Captain Nargis. Captain Nargis meeting minutes specifically note that

there was to be, “No inappropriate contact between staff and inmates.”



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     150. Captain Nargis has no proof that Defendant Christensen would have ever read the

policy regarding Fraternization with Inmates and the Prison Rape Elimination Act.

     151. The Defendant Sheriff, knowing or having reason to know that Defendant

Christensen specifically needed additional training and/or supervision in this area, negligently

failed to provide appropriate supervision and training.

     152. The negligent supervision and training of Defendant Christensen by Defendant

Sheriff caused the sexual assault and battery to the Plaintiff.


                            COUNT EIGHT- State Claim
             NEGLIGENT SUPERVISION AND TRAINING OF JAIL EMPLOYEES
                           AS TO DEFENDANT SHERIFF

     153. The Defendant Sheriff was negligent in the training their jail employees.

     154. The Defendant Sheriff knew or had reason to know that Defendant Christensen

engaged in inappropriate conduct with female inmates. Various Polk County Jailers gave

statements that Defendant Christensen favored female inmates, that he would flirt with female

inmates, and that he would make requests specifically for certain inmates, that he called certain

inmates ““gorgeous”,” among other things.

     155. In addition, various Polk County Jailers indicated that they had waited unusually long

periods for Defendant Christensen to open the door into the housing pod when he was operating

the “bubble”. Although each of the employees experienced these delays they did nothing to bring

the issue up to superiors which could have prevented sexual assaults.

     156. There were department policies and/or customs which stated that if a jailer was to

leave the “bubble”, even for a restroom break, they were to let master control know.

     157. Defendant Christensen broke this policy/custom time and time again according to

other jailers.


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     158. Defendant Sheriff failed to train and supervise the jailers on warning signals as well

as the requirement that when department policies or customs are broken that they are to report to

superiors.

     159. Because the jail failed to train and supervise on these issues, Defendant Christensen

was given the opportunity and ability to continue his sexual exploitation of female inmates.


                              COUNT NINE- State Claim
     WIS. STAT. 895.46- STATE AND POLITICAL SUBDIVISIONS THEREOF TO PAY
                    JUDGMENTS TAKEN AGAINST OFFICERS
                            AS TO DEFENDANT SHERIFF

     160. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this

Complaint.

     161. Defendant Christensen was acting within his scope of employment through Defendant

Sheriff when he engaged in sexual contact with the Plaintiff and caused the Plaintiff physical and

emotional harm in each of the aforementioned counts.

     162. Thus, if damages are found against Defendant Christensen which exceed applicable

insurance, Defendant Sheriff is responsible for and must pay all remaining damages to the

Plaintiff.

                                             RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her

favor as follows:

        1.     That the practices and conduct of Defendant Christensen complained of herein be

adjudged in violation of the rights secured by Plaintiff under 42 U.S.C. §1983 and §1988 and the

Eighth Amendment.




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         2.       That the practices and conduct of Defendant Sheriff complained herein be

adjudged in violation of the rights secured by Plaintiff under 42 U.S.C. §1983 and §1988 and the

Eighth Amendment.

         3.       That the practices and conduct of Defendant Christensen and Defendant Sheriff

complained of herein be adjudged violations of Wisconsin law.

         4.       That Plaintiff is awarded compensatory damages in an amount to be established at

trial.

         5.       That Plaintiff is awarded damages for mental anguish and pain and suffering in an

amount to be established at trial.

         6.       That Plaintiff is awarded punitive damages against Defendant Christensen under

the Civil Rights Act of 1871, and 42 U.S.C. § 1983 and Wisconsin law.

         7.       That Defendant Sheriff is responsible for all remaining damages which exceed

applicable insurance, including punitive damages.

         8.       That the Court award Plaintiff her attorneys’ fees and costs and expenses of this

action and prejudgment interest pursuant to 42 U.S.C. §§ 1983 and 1988 and Wisconsin law.

         9.       For such other and further relief as this Court deems just and equitable.


                                                        ECKBERG, LAMMERS, BRIGGS,
                                                        WOLFF & VIERLING, PLLP

Dated:        December 31, 2015                         By:    s/Thomas J. Weidner
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